Case: 4:19-cv-00013-GHD-RP Doc #: 43 Filed: 09/25/20 1 of 1 PagelD #: 138

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

GREENVILLE DIVISION
BRANDON PUGH (# 165014) PLAINTIFF
v. No. 4:19CV13-GHD-RP
LT. EDWARD THIGPEN
LT. TONY FOSTER
DEPUTY WARDEN LEE SIMON
ASSOCIATE WARDEN MRS. STURDEVANT DEFENDANTS

JUDGMENT

Having considered the file and records in this action, the court finds that the Report and
Recommendation of the United States Magistrate Judge was duly served by mail upon the pro se
plaintiff at his last known address; that more than fourteen days have elapsed since service of the
Report and Recommendation; and that no objection to the Report and Recommendation has been
filed or served by any party. The Magistrate Judge’s Report and Recommendation should
therefore be approved and adopted as the opinion of the court. It is ORDERED:

1. That the Report and Recommendation of the United States Magistrate Judge is
hereby APPROVED AND ADOPTED as the opinion of the court.

2. That, on the plaintiff's motion, defendant Associate Warden Mrs. Sturdevant is
DISMISSED with prejudice from this suit.

3. That the plaintiffs claims against the remaining defendants for denial of adequate

medical care and poor general conditions of confinement will PROCEED.

SO ORDERED, this, the QP iny of September, 2020.

a H, Yaron.

SENIOR UNITED STATES DISTRICT JUDGE

 
